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Reply to: Totowa Offlce

VIA FED-EX OVERNIGHT

 

Clerk of the Court

United States Bankruptcy Court

District of Delaware

824 North Market Street, 3rd Floor _:\;;: §

Wiimingmn, DE 19801 "f“l ;; a aaa

Re: In Re: CB Holdings Corp., et al. * g vi §§

Our Client/Claimant: Rosa Thorpe ~' " ' ’. amax
Case No.: 10-13683(MFW) 5 ‘¢’“é'
Hearing Date: January 28, 2019 at 10:30 a.m. gas

Dear Sir/Madam:

Please be advised that our office represents Rosa Thorpe with respect to a slip and fall
accident which occurred on or about September 23, 2007 at a restaurant owned by Debtor. All
Proof of Claims with respect to the above-captioned matter have been filed by our office in a
timely manner. Enclosed herein is a copy of said Proof of Claims for your reference.

Our office recently received a Motion Excusing Need To Make Distributions for
Claimants without Taxpayer Identification Numbers, which included our client on the motion.
Please accept this correspondence in Opposition to the Motion Excusing Need To Make

Distributions for Claimants without Taxpayer Identification Numbers, with respect to the above-
captioned case.

On or about September 21, 2018 our office was sent a W-9 form and a self-addressed
return envelope, which was to be completed and returned before November 5, 2018 relating to
the above-captioned matter. ln response to same, on October 31, 2018 the undersigned had fully
executed the aforesaid W-9 and returned same in the self-addressed envelope provided.
Enclosed herein is a copy of the fully executed W-9 dated October 31, 2018 for your reference.

Additionally, on January 8, 2019 I spoke with attorney Peter J. Keane, Esq. and advised
him of the aforesaid Mr. Keane, Esq. requested that l provide him with a copy of the W-9 via
email. Enclosed herein is a copy of said email dated January 8, 2019 for your reference.

 

 

 

 

 

 

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Upon Mr. Keane’s receipt and review of the email, he graciously stated that he will
remove Rosa Thorpe from the Order Excusing Need To Make Distributions for Claimants
without Taxpayer ldentification Nurnbers. Enclosed herein is a copy of said email dated January
8, 2019 for your reference.

Furtherrnore, upon reviewing the personal injury file for Rosa Thorpe, it appears she had
sustained severe injuries, including but not limited to a right wrist fracture, installation of
hardware and a 3” scar from the surgery. To grant the Motion and excuse her claim would be
unfair, unjust and prejudicial in its entirety, due to the severity of Rosa Thorpe’s injuries and the
fact that we have filed all the appropriate paperwork with the Debtor and/or Bankruptcy Courts.

Accordingly, it is respectfully requested that the Court deny the Motion with respect to
Claimant Rosa Thorpe.

Please note that we do not request oral argument as the undersigned and Claimant Rosa
Thorpe both live and work in the State of New Jersey.

Finally, please note that this Opposition is being submitted solely for the purpose to put
the Court on Notice of Claimant’s interest in this case.

Thank for your courtesies and consideration.

Respectfully S mitt

  
  
 

Robert J.

RJB/jd
Enclosures
cc: Honorable Mary F. Walrath, U.S.B.J. (via fed-ex overnight, w/encls.)
Juliet M. Sarkessian, Esq., US Trustee (w/encls.)
Peter J. Keane, Esq. (via email, w/encls.)
Mark D. Collins, Esq. (w/encls.)
Kristine Grigorian-Manoukian, Esq. (w/encls.)
Peter J. Keane, Esq. (w/encls.)
Maya Peleg, Esq. (W/encls.
Christopher M. Samis, Esq. (w/encls.)
Tyler D. Semmelman, Esq. (w/encls.)
Richard A. Stieglitz Jr., Esq. (w/encls.)
Rosa Thorpe (w/encls.)

 

